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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

APPLICATION TO QUALIFY AS A FOREIGN ATTORNEY UNDER LOCAL CIVIL RULE 83.1(E) AND LOCAL
CRIMINAL RULE 57.4(E)
In Case Number 2:24-cv-00064-AWA-LRL , Case Name Theslet Benoir et al. v. Town of Parksiay, Virginia et al.

Party Represented by Applicant: Theslet Benoir and Clemene Bastien, a married couple; and Eben-Ezer Haitian Food Truck LLC

To: The Honorable Judges of the United States District Court for the Eastern District of Virginia

PERSONAL STATEMENT
FULL NAME (no initials, please) Matthew D. Liles
Bar Identification Number 90027919 State District of Columbia
Firm Name nstitute for Justice
Firm Phone # (703) 682-9320 Direct Dial #329 FAX # (703) 682-9321

E-Mail Address milles@ij.org
Office Mailing Address 901 N. Glebe Road, Suite 900, Arlington, VA 22203

Name(s) of federal district court(s) in which J have been admitted U.S. District Court for the Easter District of Texas

I certify that the rules of the federal court in the district in which I maintain my office extend a similar pro hac vice admission
privilege to members of the bar of the Eastern District of Virginia.

I have not been reprimanded in any court nor has there been any action in any court pertaining to my conduct or fitness as a
member of the bar.

I hereby certify that, within ninety (90) days before the submission of this application, I have read the Local Rules of this Court
and that my knowledge of the Federal Rules of Civil Procedure, the Federal Rules of Criminal Procedure, and the Federal Rules of

Evidence is current.
Tam [_] am not [lila full-time employee of the United States of America, and if so, request exemption from the admission fee.

(Applicant’s Signature)

I, the undersigned, do certify that I am a member of the bar of this Court, not related to the applicant; that I know the applicant
personally, that the said applicant possesses all of the qualifications required for admission to the bar of this Court; that I have
examined the applicant’s personal statement. I affirm that his/her personal and professional character and standing are good, and

petition the court to admit the applicant pro hac vice.
CAEL 204/202

(Signature) — (Date)
Paul M, Sherman ee 73410
(Typed or Printed Name) (VA Bar Number)

Court Use Only:
Clerk’s Fee Paid [] or Exemption Granted L]

The motion for admission is GRANTED [[] or DENIED [_]

(ludge’s Signature) (Date)
